Case 2:10-md-02179-CJB-DPC Document 4073-1 Filed 09/20/11 Page 1 of 4

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISINAA

IN RE: OIL SPILL BY THE OIL RIG * MDL NO. 2179
DEEPWATER HORIZON IN THE *
GULF OF MEXICO, ON APRIL 20, * CIVIL ACTION NO. 2:11-CV-778
2010 *
* JUDGE BARBIER
THIS DOCUMENT RELATES TO: *
2:11-CV-778 * SECTION J
*
JAMES PEARSON and * MAGISTRATE JUDGE SHUSHAN
THOMAS EDWARD BLACK *
* MAG. DIV. 1
VERSUS *
*
DRC EMERGENCY SERVICES, LLC *
oe Oe Oe Oe oe oe GR ae oe ook sk ok ck oe fe eo He oe oe ake ok ck ok ok

MEMORANDUM IN SUPPORT OF REMOVAL OF NON-COLLATERAL MATTER
FROM THE BP OTL SPILL MDL

MAY IT PLEASE THE COURT:

Plaintiffs seek removal of their breach of contract suit for wages and resulting attomey fees
from the tort based claims of the BP Oil Spill MDL. As plaintiffs will show their contract suit does
not comprise all or even a material part of the same subject matter or the same operative facts as the
tort based claims in the BP Oil Spill ML. Defendant, DRC Emergency Services, LLC, has
improperly transferred plaintiffs’ breach of contract claim despite the fact that this particular case
has nothing to do with the BP Oil Spill. The mere fact that DRC is also a defendant in the BP Oil
Spill MDL does not automatically mean that all claims brought against it, including those strictly

sounding in contract, should be swallowed up into the MDL. Accordingly, removal is warranted.

Case 2:10-md-02179-CJB-DPC Document 4073-1 Filed 09/20/11 Page 2 of 4

BACKGROUND

Plaintiffs, James Pearson, a captain of a vessel, and Thomas Edward Black, his deckhand,
originally filed their suit entitled, “Petition for Breach of Contract and Attorney’s Fees,” in the 24%
Judicial District Court for the Parish of Jefferson.

Pearson and Black contend that defendant, DRC, has failed to pay them wages and fees,
which they are entitled to pursuant to a contract between the parties. Their issues are simple and
straight forward unlike the lengthy and complex determination that will be required to determine
who are at fault for the blow-out, oil spill and resulting tort damages in the BP Oil Spill MDL. Are
they entitled to the balance of wages or not? The rate of their wages are not be in dispute; just
whether they should be paid for the additional days they claim are owed them.

The defendant, DRC Emergency Services, LLC (hereinafter referred to as “DRC”), filed a
Petition for Removal based upon diversity and the terms of the charter agreement between the
parties. DRC also filed a “Notice of Collateral Proceedings” resulting in plaintiffs’ breach of
contract suit being transferred into the BP Oil Spill MDL tort litigation.

ARGUMENT

Plaintiffs accept removal to federal court based upon diversity and the charter agreement
between the parties but strenuously seek removal from the tort based BP Oil Spill MDL proceedings.
For the reasons to be set forth below, plaintiffs urge their breach of contract suit is not a collateral
matter to the tort based BP Oil Spill litigation within the definition of Local Rule 3.1.

Turning first to a consideration of the operation of LR 3.1 in this matter, in reality it allowed
counsel for the DRC to have this contract wage claim transferred to the BP Oil Spill MDC by simply

alleging, without contradictory proceedings, court review or factual support, that the subject matter

-2-

Case 2:10-md-02179-CJB-DPC Document 4073-1 Filed 09/20/11 Page 3 of 4

of the removed matter either comprised all or a material part of the subject matter or operative facts
of the thousands of tort claims in the BP Oil Spill MDL.

LR 3.1.1 explains that its basis for requiring transfer of similarly aligned or collateral matters
is to conserve judicial resources, avoid forum shopping and conflicting court rulings. Plaintiffs
submit cumulating their breach of contract action with the tort based MDL claims will serve none
of these goals, but will only cause untoward delay in the determination of a fundamental right to
one’s wages.

Next consider the categories or bundles which have been created to comprise the various tort
based claims made in the BP Oil Spill MDL. The bundles comprise claims for economic loss,
property damage resulting from either or both the original oil spill and the cleanup. There are also
personal injury and wrongful death claims as well as claims for medical monitoring. All such claims
are clearly tort based. A petition for breach of contract for wages and attorney’s fees does not fit
within such tort based bundles. Plaintiffs seek recovery in contract, not an award of damages in tort
for either personal injuries or property damages.

CONCLUSION

In conclusion, plaintiffs’ contract claim is the square peg that does not fit in any BP tort based
bundles. It does not comprise all or a material part of the subject matter or operative facts of the
claims in the BP Oil Spill MDL involving complex deliberations on fault. Attempting to cumulate
one action for breach of contract with thousands of claims in the tort based bundles will not conserve
judicial resources nor avoid forum shopping or conflicting court rulings. It will only cause untold

delay while the MDL is attempting to resolve complex issue of fault instead of quickly resolving

Case 2:10-md-02179-CJB-DPC Document 4073-1 Filed 09/20/11 Page 4 of 4

time critical issues involving fundamental rights to wages owed plaintiffs. This non-collateral wage

contract claim should be removed from the tort claims that comprise the BP Oil Spill MDL.

Respectfully submitted,

BOGGS, LOEHN & RODRIGUE

00D.

THOMAS E. LOEHN (#8663)
CHARLES K. CHAUVIN (#27403)
ROBERT F. LAKEY (#7927)

3616 S. I-10 Service Road, W., Suite 109
Metairie, LA 70001

Telephone: (504) 828-1202

Facsimile: (504) 828-1208

Email: tloehn@yahoo.com

Attorney for Plaintiffs, James Pearson and
Thomas Edward Black

CERTIFICATE OF SERVICE
THEREBY CERTIFY that a copy of the above and foregoing pleading has been served upon

all counsel of record via the Court’s CM/ECF system and by placing same in the United States mail,
properly addressed and postage prepaid to counsel for the defendant, this 2e+day of September,

2011.

LATommy\MISCELLANEOUS Files 010\Pearson & Black v. DRC ( 0102010048)\Pleadings\Memorandum in Support of Motion for Removal of
Non-Collateral Matter from the BP Oil Spill MDL (9-20-11) Draft 3.wpd

4.

